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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530




                                                               August 18, 2021
William A. Harrison
HARRISON & MATSUOKA
Attorneys at Law
1001 Bishop Street Suite 1180
Honolulu, Hawaii 96813
Email: wharrison@hamlaw.net

BY EMAIL

                       Re:    Stacy Higa

Dear Counsel:

       This letter sets forth the full and complete proposed plea offer to your client, Stacy Higa
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on August 27, 2021. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as “this Agreement”). The terms of the offer are as follows:

       1.       Charges and Statutory Penalties

       Your client agrees to plead guilty to a criminal Information, a copy of which is attached,
charging your client with one count of federal programs embezzlement in violation of 18 U.S.C.
§ 666(a)(1)(A) and one count of federal programs bribery in violation of 18 U.S.C. § 666(a)(2).

        Your client understands that a violation of 18 U.S.C. 666(a)(1)(A) carries a maximum
sentence of 10 years imprisonment; a fine of $250,000 or twice the pecuniary gain or loss of the
offense, pursuant to 18 U.S.C. § 3571; a term of supervised release of not more than 3 years,
pursuant to 18 U.S.C. § 3583; mandatory restitution under 18 U.S.C. § 3663A; and an obligation
to pay any applicable interest or penalties on fines and restitution not timely made.

       Your client understands that a violation of 18 U.S.C. 666(a)(2) carries a maximum
sentence of 10 years imprisonment; a fine of $250,000 or twice the pecuniary gain or loss of the


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offense, pursuant to 18 U.S.C. § 3571; a term of supervised release of not more than 3 years,
pursuant to 18 U.S.C. § 3583; mandatory restitution under 18 U.S.C. § 3663A; and an obligation
to pay any applicable interest or penalties on fines and restitution not timely made.

        In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subject to the substantially higher penalties provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

       2.       Factual Stipulations

        Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

       3.       Additional Charges

        In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The U.S. Attorney’s Office for the District of Columbia further agrees not to bring
additional charges against defendant in the District of Columbia arising out of this investigation,
known to the U.S. Attorney’s Office for the District of Columbia at the time of this agreement.

        After the entry of your client’s plea of guilty to the offenses identified in paragraph 1
above, your client will not be charged with any non-violent criminal offense in violation of
Federal or District of Columbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware
by your client prior to the execution of this Agreement. However, the United States expressly
reserves its right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16
and/or 22 D.C. Code § 4501, if in fact your client committed or commits such a crime of
violence prior to or after the execution of this Agreement.

       4.       Sentencing Guidelines Analysis

         Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:


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               A.      Estimated Offense Level Under the Guidelines

       The parties agree that the following Sentencing Guidelines sections apply:

        Your client acknowledges and agrees the Count One and Count Two do not group
pursuant to U.S.S.G. § 3D1.2(d) because they do not involve the same harm. Your client agrees
that U.S.S.G. § 2B1.1 applies to Count One and U.S.S.G. § 2C1.1 applies to Count Two.

       Count One

       U.S.S.G. § 2B1.1(b)(1)         Base Offense Level                             6
       U.S.S.G. § 2B1.1(b)(1)(C)      Intended loss greater than $15,000             4
       U.S.S.G. § 2B1.1(b)(10)(C)     Sophisticated means                            2
       U.S.S.G. § 3B1.1(c)            Leader/Organizer                               2
       U.S.S.G. § 3B1.3               Abuse of position of trust                     2

                                      Total Offense Level (Count One)                16

       Count Two

       U.S.S.G. § 2C1.1(a)(1)         Base Offense Level (public official)           12
       U.S.S.G. § 2B1.1(b)(1)(H)      Intended Benefit Greater than $250,000         12
       U.S.S.G. § 3B1.1(c)            Organizer/leader                               2

                                      Total Offense Level (Count Two)                26

       Multiple Count Adjustment

 Group/Count                         Adjusted Offense Level                     Units
 Count Group 2                                 26                                1
 Count Group 1                                 16                                0

      Pursuant to § 3D1.4, there is no adjustment to the offense level for a total of 1 units.
Accordingly, the total offense level is 26 prior to adjustments for acceptance of responsibility.

       Acceptance of Responsibility

        The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your

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client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing
for trial and permitting the Court to allocate its resources efficiently.

        Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

       In accordance with the above, the Estimated Offense Level will be at least 23.

               B.      Estimated Criminal History Category

       Based upon the information now available to this Office, your client has no criminal
convictions.

        Accordingly, your client is estimated to have 0 criminal history points and your client’s
Criminal History Category is estimated to be I (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

               C.      Estimated Guidelines Range

        Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range will be at least 46-57
months (the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to
U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines level 23, the estimated
applicable fine range will be at least $20,000 to $200,000. Your client reserves the right to ask
the Court not to impose any applicable fine.

        The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. Except as provided for in the “Reservation of
Allocution” section below and the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.
However, the parties are free to argue for a Criminal History Category different from that
estimated above in subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
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Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

        Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

       5.       Agreement as to Sentencing Allocution

        The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a),
should such a sentence be subject to appellate review notwithstanding the appeal waiver
provided below. Nevertheless, your client reserves the right to seek a sentence below the
Estimated Guidelines Range based upon factors to be considered in imposing a sentence
pursuant to 18 U.S.C. § 3553(a).

       6.       Reservation of Allocution

         The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

        In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the


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Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

       7.       Court Not Bound by this Agreement or the Sentencing Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

        Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Government cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow the Government’s sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

       8.       Conditions of Release

        Your client acknowledges that, although the Government will not seek a change in your
client’s release conditions pending sentencing, the final decision regarding your client’s bond
status or detention will be made by the Court at the time of your client’s plea of guilty. The
Government may move to change your client’s conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct
prior to sentencing or if the Government obtains information that it did not possess at the time of
your client’s plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation of your
client’s release conditions or any misconduct by your client may result in the Government filing
an ex parte motion with the Court requesting that a bench warrant be issued for your client’s
arrest and that your client be detained without bond while pending sentencing in your client’s
case.

       9.       Waivers

                A.     Venue

       Your client waives any challenge to venue in the District of Columbia.

                B.     Statute of Limitations
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        Your client agrees that, should the convictions following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.

               C.      Trial Rights

        Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of self-incriminating statements in a criminal prosecution. By
entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

        Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.
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               D.      Appeal Rights

         Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the convictions in this case on any basis, including but not limited to claims that (1) the
statute to which your client is pleading guilty is unconstitutional and (2) the admitted conduct
does not fall within the scope of the statute. Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

               E.      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.

       10.     Restitution

       Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A at the time of
sentencing.

         Apart from that determination of mandatory restitution, your client agrees to pay
restitution in the amount of $38,642 to AmeriCorps.

        Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
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disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will
complete and electronically provide the standard financial disclosure form to
usadc.ecfflu@usa.doj.gov 30 days prior to your client’s sentencing. Your client agrees to be
contacted by the Financial Litigation Unit of the United States Attorney’s Office, through
defense counsel, to complete a financial statement. Upon review, if there are any follow-up
questions, your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete, accurate and truthful, and
understands that any willful falsehood on the financial statement could be prosecuted as a
separate crime punishable under 18 U.S.C. § 1001, which carries an additional five years’
incarceration and a fine.

        Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

        Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

        Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

       11.     Forfeiture

      Your client agrees to the forfeiture set forth in the Forfeiture Allegation in the Criminal
Information to which your client is pleading guilty. Your client agrees to the entry of a forfeiture
money justment in the amount of $38,642.

        Your client agrees that the proffer of evidence supporting your client’s guilty plea is
sufficient evidence to support this forfeiture. Your client agrees that the Court may enter a
Consent Order of Forfeiture for this property at the time of your client’s guilty plea or at any
time before sentencing. Your client agrees that this Order will become final as to your client
when it is issued and will be a part of your client’s sentence pursuant to Federal Rule of Criminal
Procedure 32.2(b)(4)(A).


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        Your client agrees that this plea agreement permits the Government to seek to forfeit any
of your client’s assets, real or personal, that are subject to forfeiture under any federal statute,
whether or not this agreement specifically identifies the asset. Regarding any asset or property,
your client agrees to forfeiture of all interest in: (1) any property, real or personal, which
constitutes or is derived from proceeds traceable to the offense to which your client is pleading
guilty; (2) any substitute assets for property otherwise subject to forfeiture. See 18 U.S.C. §
981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c).

        Your client agrees that he has waived any and all interest your client has in the specific
assets or properties identified above and consented to their forfeiture by whatever process the
Government chooses. Your client agrees that these items are subject to seizure and forfeiture by
the United States, and that no defense exists to the seizure and forfeiture of this property by the
United States. As such, your client hereby relinquishes all claim, title, and interest your client
has in the above-referenced property to the United States and agrees not to oppose any civil,
administrative, or judicial forfeiture of the property. Your client knowingly and voluntarily
waives any right to timely notice provided for in 18 U.S.C. § 983. Your client agrees that the
Government may use this waiver and consent in any administrative or judicial forfeiture
proceeding, whether criminal or civil, state, local or federal. If your client already has filed a
claim to any of these assets or properties in any forfeiture process, your client hereby agrees to
withdraw it. Your client also agrees not to file a claim to any of these assets or properties in any
future forfeiture proceeding of whatever type. In the event that the law enforcement agency
having custody of the property decides not to pursue forfeiture of any of the seized properties,
your client hereby abandons any interest your client has in such property and consents to its
destruction by, and/or abandonment to, the law enforcement agency. The United States agrees
that, upon the final forfeiture of the 2014 Ford Fusion with Vehicle Identification Number
3FA6P0LU5ER256328 to the Government, the net proceeds realized by the Government will be
credited to the forfeiture money judgment imposed by the Court.

        Your client agrees that the Government may choose in its sole discretion how it wishes to
accomplish forfeiture of the property whose forfeiture your client has consented to in this plea
agreement, whether by criminal or civil forfeiture, using judicial or non-judicial forfeiture
processes. If the Government chooses to effect the forfeiture provisions of this plea agreement
through the criminal forfeiture process, your client agrees to the entry of orders of forfeiture for
such property and waives the requirements of Federal Rule of Criminal Procedure 32.2 regarding
notice of the forfeiture in the charging instrument, announcement of the forfeiture at sentencing,
and incorporation of the forfeiture in the judgment. Your client understands that the forfeiture of
assets is part of the sentence that will be imposed in this case.

        Your client agrees to take all necessary actions to identify all assets over which your
client exercises or exercised control, directly or indirectly, at any time since November 2014 or
in which your client has or had during that time any financial interest. Your client agrees to take
all steps as requested by the Government to obtain from any other parties by any lawful means
any records of assets owned at any time by your client. Your client agrees to provide and/or
consent to the release of your client’s tax returns for the previous five years. Your client agrees


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to take all steps as requested by the Government to pass clear title to forfeitable interests or to
property to the United States and to testify truthfully in any judicial forfeiture proceeding.

        Your client agrees to waive all constitutional and statutory challenges in any manner
(including, but not limited to, direct appeal) to any forfeiture carried out in accordance with this
plea agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment.

        This Office agrees to make a non-binding referral to the Money Laundering and Asset
Recovery Section at the Department of Justice that any monies obtained from the defendant
through forfeiture be distributed to the victims of the offense in accordance with any restitution
order entered in this case. Your client understands that if this request is denied, your client will
be liable to pay both the restitution and forfeiture judgments. Your client understands that
forfeiture and restitution are separate obligations and that the Court does not have the authority
to offset them against each other.

       12.       Hearings by Video Teleconference and/or Teleconference

        Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold proceedings in this matter – specifically including his presentment, initial appearance,
plea hearing, and sentencing – by video teleconference and/or by teleconference and to waive
any rights to demand an in-person/in-Court hearing. Your client further agrees to not challenge
or contest any findings by the Court that it may properly proceed by video teleconferencing
and/or telephone conferencing in this case because, due to the COVID-19 pandemic, an in-
person/in-Court hearing cannot be conducted in person without seriously jeopardizing public
health and safety and that further there are specific reasons in this case that any such hearing,
including a plea or sentencing hearing, cannot be further delayed without serious harm to the
interests of justice.

       13.     Breach of Agreement

        Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.
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       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

        Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

       14.     Complete Agreement

        No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

        Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

       If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense and returning both to me no later than
August 27, 2021.

                                                       Sincerely yours,

                                                       __________________________
                                                       Channing D. Phillips
                                                       Acting United States Attorney


                                               By:     ____________________________
                                                       Leslie A. Goemaat
                                                       Assistant United States Attorney


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